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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In Re:                                              Chapter 11

 YELLOW CORPORATION, et al.,                         Case No.23-11069 (CTG)

       Debtor,                                       (Jointly Administered)
 ______________________________________)

    OBJECTION AND RESERVATION OF RIGHTS OF FIFTY SECOND AVENUE
     ASSOCIATES, INC. TO THE NOTICE OF POTENTIAL ASSUMPTION OR
    ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES
       ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS [D.E. 968]

          Creditor, Fifty Second Avenue Associates, Inc. (“Fifty Second Avenue”), by its

undersigned counsel, hereby files this Objection and Reservation of Rights of Fifty Second Avenue

Associates, Inc. to the Notice of Notice of Potential Assumption or Assumption and Assignment of

Certain Contracts or Leases Associated with the Non-Rolling Stock Assets (“Objection”) in

connection with the Debtor’s Notice of Notice of Potential Assumption or Assumption and

Assignment of Certain Contracts or Leases Associated with the Non-Rolling Stock Assets [D.E.

968] (“Notice”). In support of this Objection, Fifty Second Avenue states:

                                        BACKGROUND

          1.    On August 6, 2023 (“Petition Date”), the above-captioned Debtor (“Debtor”) filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code (“Bankruptcy

Code”) in the United States Bankruptcy Court for the District of Delaware (“Court”).

          A.    The Fifty Second Avenue Lease Agreement

          2.    Fifty Second Avenue and the Debtor are parties to an original lease dated November

6, 2001, as amended by a on April 17, 2007, and then further amended on October 22, 2020

(collectively the “Fifty Second Avenue Lease Agreements” pursuant to which Fifty Second

Avenue supplies goods and services to the Debtor.

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       3.         On November 28, 2022, Fifty Second Avenue timely and properly filed a proof of

claim for remaining amounts due and owing under the Fifty Second Avenue Agreement.

Specifically, Fifty Second Avenue filed a claim, identified as Claim No. 54, asserting $7,865.00

as the aggregate amount remaining due and owing under the Agreement.

            4.    As of September 15, 2023, the Debtor owe Fifty Second Avenue an amount not less

   than $7,865.00 under the Fifty Second Avenue Agreements (the “Fifty Second Avenue Cure

   Amount”). Based on information and belief, the Fifty Second Avenue Cure Amount has been

   provided to the Debtor in the ordinary course of business between the Debtor and Fifty Second

   Avenue.

       B.         The Debtor’s Sale Process

       5.         On September 15, 2023, the Court entered its Order (I) Approving Bidding

Procedures, Authorizing the Debtor to Provide Bid Protections, and (III) Granting Related Relief

(Docket No. 968) (the “Bidding Procedures Order”) which, among other things, authorized and

approved procedures for the assumption and assignment certain executory contracts and leases, as

part of a potential sale (or sales) of the Debtor’s assets (the “Proposed Sale”).

       6.         On October 26, 2023, the Debtor filed the Notices, which identify certain executory

contracts and leases the Debtor propose to assume and assign as part of the Proposed Sale. The

Notices identify $7,865.00 as the amount necessary to cure all monetary defaults owed to Fifty

Second Avenue under the Fifty Second Avenue Agreement (and $7,865.00) as the amount

necessary to cure all monetary defaults owed to Fifty Second Avenue under the Critical Vendor

Agreement) in connection with the Proposed Sale.

       7.         As provided by the Notices, the deadline to file a Cure Objection or an Adequate

Assurance Objection is November 9, 2023 at 4:00 p.m. Prevailing Eastern Time.



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                                        OBJECTION

       8.     While Fifty Second Avenue does not generally oppose the assumption and

assignment of the Fifty Second Avenue Agreement to a financially viable assignee, the Fifty

Second Avenue objects to the assignment of the Fifty Second Avenue Agreement by the Debtor

as currently proposed. The proposed assumption and assignment of the Fifty Second Avenue

Agreement fails to strictly comply with the requirements of section 365 of the Bankruptcy Code

and the terms and conditions of Fifty Second Avenue Agreement. The proposed assignment of the

Fifty Second Avenue Agreement by the Debtor must be conditioned on, among other things: (i)

the payment of all amounts due and owing under the Fifty Second Avenue Agreement through the

effective date of the assignment of the Fifty Second Avenue Agreement; and (ii) the Debtor

satisfying their burden under the Bankruptcy Code of demonstrating adequate assurance of future

performance under the Fifty Second Avenue Agreement by the Prospective Bidder.

I.     The Cure Amounts

       9.     The Debtor’s proposed assignment of the Fifty Second Avenue Agreement must be

conditioned on all defaults under the Fifty Second Avenue Agreement being cured by the Debtor

as of the effective date of the assumption and assignment of the Fifty Second Avenue Agreement.

As of September 15, 2023 the aggregate cure amount due and owing under the Fifty Second

Avenue Agreement is in an amount not less than $7,865.00 (i.e., the “Fifty Second Avenue Cure

Amount”), although amounts due and owing under the Fifty Second Avenue Agreements continue

to accrue from and after September 15, 2023.

       10.    The Fifty Second Avenue Cure Amount represent known amounts that are currently

due and owing to Fifty Second Avenue under the Agreement, exclusive of any sums which have

become due or have been paid after September 15, 2023. The Fifty Second Avenue Cure Amounts



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may increase prior to any actual date of assignment of the Fifty Second Avenue Agreement if the

Debtor do not timely and properly pay all amounts that accrue after the date of this Objection (as

required by the Bankruptcy Code), including attorneys’ fees pursuant to the Fifty Second Avenue

Agreement and other amounts that may come due pursuant to the terms of the Fifty Second Avenue

Agreement and regardless of when those amounts accrued.

II.    Real Property Taxes Due and Owing

The Debtor’s proposed assignment of the Fifty Second Avenue Agreement must be conditioned

on all defaults under the Fifty Second Avenue Agreement being cured by the Debtor as of the

effective date of the assumption and assignment of the Fifty Second Avenue Agreement. Debtor

failed to pay the 2023 Ad Valorem Taxes and Non-Ad Valorem Assessments in the amount of

$12,860.94, which Fifty Second Avenue Associates Inc. paid in full on November 7, 2023.

III.   Damages to the Property Not Remediated

       11.     The Debtor’s proposed assignment of the Fifty Second Avenue Agreement must be

conditioned on all defaults under the Fifty Second Avenue Agreement being cured by the Debtor

as of the effective date of the assumption and assignment of the Fifty Second Avenue Agreement.

The Debtor is responsible for the upkeep of the property and there is damage to the property in the

beyond that of normal wear and tear, that is owed by the Debtor. The damages are subject to

additional amounts due and owed by the Debtor.

       12.     Accordingly, Fifty Second Avenue expressly reserves its right to amend or

supplement this Objection and the Fifty Second Avenue Cure Amount from time to time and at

any time, and requests that the Debtor remain liable for, among other things: (a) all post-petition

charges under the Fifty Second Avenue Agreement; (b) all amounts accruing under the Fifty

Second Avenue Agreement which may be unbilled as of September 15, 2023; (c) any regular or

periodic adjustment of charges under the Fifty Second Avenue Agreement which were not due or

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had not been determined as of the date of September 15, 2023; (d) any non-monetary defaults;

and/or (e) other contractual obligations under the Fifty Second Avenue Agreement.

       13.     As part of the proposed assumption and assignment of the Fifty Second Avenue

Agreement, the Debtor must assume and assign the Agreement in its entirety. This obligation

requires the Debtor to assume and assign all terms, conditions, covenants, and obligations under

the Fifty Second Avenue Agreement, whether monetary or non-monetary, for which the Debtor is

responsible pursuant to the Fifty Second Avenue Agreement. Any order entered by this Court

approving the assumption and assignment of the terms and conditions should provide for the same.

       14.     Consistent with the foregoing, Fifty Second Avenue respectfully requests that any

order approving the assumption and assignment of the Fifty Second Avenue Agreement provide,

among other things, that the Debtor or any proposed assignee of the Fifty Second Avenue

Agreement, including the Prospective Bidder, pay to Fifty Second Avenue, on the effective date

of the assignment, all amounts due and owing under the Fifty Second Avenue Agreement through

the effective date of assignment of the Fifty Second Avenue Agreement (i.e., the Fifty Second

Avenue Cure Amount, as the same may increase). In addition, Fifty Second Avenue respectfully

request that any order approving the assumption and assignment of the Fifty Second Avenue

Agreement specifically provide that any proposed assignee of the Fifty Second Avenue

Agreement, including the Prospective Bidder, will be responsible for paying the following charges

when they become due, regardless of whether these obligations and charges accrue prior to or after

the effective date of assumption and/or assignment of the Fifty Second Avenue Agreement:

                a) all accruing but unbilled charges under the Fifty Second Avenue Agreement;
                b) all regular or periodic adjustment of charges under the Fifty Second Avenue
                Agreement which were not due or had not been determined as of March 30, 2023;
                and
                c) all other obligations under the Fifty Second Avenue Agreement.



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  Such provisions are supported by the statutory requirement that the Debtor cure all arrears and

  that the Debtor and/or the proposed assignee of the Fifty Second Avenue Agreement, including

  the Prospective Bidder, provide adequate assurance of future performance under the terms of

  the Fifty Second Avenue Agreement. See 11 U.S.C.§ 365(b)(1).

       15.     Pursuant to section 365(f)(2)(B) of the Bankruptcy Code, the Debtor may only

assign the Fifty Second Avenue Agreement if Fifty Second Avenue receives adequate assurance

of future performance under the Fifty Second Avenue Agreement. Additionally, the Bidding

Procedures Order requires that counterparties to Contracts and Agreement be provided with “the

Prospective Bidder’s financial wherewithal and willingness to perform under the Proposed

Assumed Contracts and any other Contracts or Agreement that may later be designated by the

Prospective Bidder.” Bidding Procedures Order, ¶ 30. The Debtor bear the burden of

demonstrating the Prospective Bidder’s ability to provide adequate assurance of future

performance under the Agreement. In re Uniq Shoes Corp., 316 B.R. 748, 751 (Bankr. S.D. Fla.

2004) (the debtor bears the burden of sufficiently demonstrating adequate assurance).

       16.     As of the filing of this Objection, the Debtor have not provided Fifty Second

Avenue with information demonstrating the Prospective Bidder’s ability to satisfy all obligations

(monetary and non-monetary) under the Fifty Second Avenue Agreement, when required under

the Fifty Second Avenue Agreement. Fifty Second Avenue should receive sufficient adequate

assurance information for the Prospective Bidder prior to the Sale Hearing in order to properly

evaluate the Prospective Bidder’s ability to continue operating under the Fifty Second Avenue

Agreement and comply with all terms thereof. Until Fifty Second Avenue Entities receive

sufficient adequate assurance information for the Prospective Bidder, Fifty Second Avenue objects

to the assumption and assignment of the Fifty Second Avenue Agreement to the Prospective



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Bidder.

                                  RESERVATION OF RIGHTS

          17.    Nothing in this Objection is intended to be, or should be construed as, a waiver by

Fifty Second Avenue of any of its rights under the Fifty Second Avenue Agreement, the

Bankruptcy Code, or applicable law. Fifty Second Avenue expressly reserves all such rights,

including, without limitation, the right to: (a) supplement and/or amend this Objection and to assert

any additional objections with respect to the Fifty Second Avenue Cure Amount and any proposed

assignment of the Fifty Second Avenue Agreement on any and all grounds; (b) amend the Fifty

Second Avenue Cure Amount; (c) assert any nonmonetary defaults under the Fifty Second Avenue

Agreement; (d) object to any proposed assignee’s adequate assurance of future performance; and

(e) assert any further objections as it deems necessary or appropriate.

          WHEREFORE, Creditor, Fifty Second Avenue Associates, Inc., respectfully requests

that this Court enter an order: (a) sustaining this Objection; (b) affirmatively requiring the Debtor

or the Prospective Bidder to pay all amounts owing to Fifty Second Avenue under the Fifty

Second Avenue Agreement through the effective date of any assignment of the Fifty Second

Avenue Agreement plus attorneys’ fees; (c) affirmatively requiring the assignee to comply with

each and every term, condition and obligation set forth in the Fifty Second Avenue Agreement;

and (d) granting Fifty Second Avenue such other and further relief as this Court deems just and

proper under the circumstances.




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                                              Respectfully submitted,

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                                              By:     /s/ Joe M. Grant
                                                      JOE M. GRANT
                                                      Florida Bar No. 137758

                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 9th day of November, 2023, I electronically filed this

document with the Clerk of Court using CM/ECF. I also certify that the document is being served

this day on all counsel of record or pro se parties via transmission of Notices of Electronic Filing

generated by CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Filing.




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